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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Kraft Foods Global, Inc., et al.
                                         Plaintiff,
v.                                                         Case No.: 1:11−cv−08808
                                                           Honorable Steven C. Seeger
United Egg Producers, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 21, 2023:


         MINUTE entry before the Honorable Steven C. Seeger: The jury continued
deliberations. The jury reached a verdict and notified the Court Security Officer by
delivering a note at 11:27 a.m. The Court set a hearing to receive the verdict. In the
meantime, the Court gave a lengthy oral explanation of the basis for its ruling that the
Rule of Reason applies to each of the alleged restraints of trade. The Court assembled the
parties and counsel, received the verdict, and read it into the record. The Court polled the
members of the jury and confirmed unanimity. The Court accepted the verdict. The jury
returned a verdict in favor of Plaintiffs on the question of liability, meaning Phase I of the
trial. The Court will preside over the damages phase (Phase II) on Wednesday, November
29 and Thursday, November 30, 2023. The damages phase of the trial will begin with the
jury at 9:30 a.m. on Wednesday, November 29. That day, counsel must appear by 8:30
a.m. to finalize any preliminary matters. Plaintiffs must file their witness list for Phase II
by Friday, November 24. Plaintiffs must file their exhibit list by Saturday, November 25.
Defendants must file their witness list by Sunday, November 26. Defendants must file
their exhibit list by Monday, November 27. The Court will reconvene with the parties on
Tuesday, November 28, 2023 at 10:00 a.m. If any party believes that there is a need for a
hearing beforehand, that party must file a motion by Saturday, November 25. The Court
will allow the parties to present opening statements to the jury on Wednesday, November
29. Opening statements must not exceed 20 minutes (but each Defendant can have 20
minutes). The parties must exchange any demonstratives by 5:00 p.m. on Tuesday,
November 28. Evidence that is already admitted from Phase I (liability) will remain in the
record as admitted evidence during Phase II (damages). The Court will allow the parties to
repeat any evidence from the liability phase that might assist the jury in reaching a
decision at the damages phase. Basically, the parties have the latitude to present whatever
they believe will assist the jury (consistent with the other parameters that this Court has
set on the admissibility of evidence generally). No party may encourage the jury to
second−guess any decision from the liability phase, and must not criticize any aspect of
the jury's decision in the presence of the jury. The jury's work is done from Phase I, and
all parties must respect it and not second−guess it in the jury's presence. The parties must
meet and confer about jury instructions and the jury verdict form, and must file agreed
jury instructions and an agreed jury verdict form by Sunday, November 26. Counsel must
meet and confer by 5:00 p.m. on Monday, November 27 about any disputed issues.
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Mailed notice. (jjr, )




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